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                                                                                       United States District Court
             Sealed                  UNITED STATES DISTRICT COURT                        Southern District of Texas
Public and unofficial staff access   SOUTHERN DISTRICT OF TEXAS
     to this instrument are                                                                   ENTERED
   prohibited by court order                HOUSTON DIVISION                                  May 13, 2022
                                                                                         Nathan Ochsner, Clerk

    UNITED STATES OF AMERICA                           §
                                                       §

                     V.
                                                       §     CRIMINAL NO:       4:22cr232
                                                       §
                                                       §
    KIMBERLY HUERTA                                    §
                                                       §
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                            ORDER FOR ISSUANCE OF BENCH WARRANT


       A         CRIMINAL INDICTMENT             has been returned against the defendant listed

    below.

      It is ORDERED that a warrant be issued for the arrest of said defendant. Upon arrest and

    appearance, a judicial determination shall be made as to detention or release on conditions. The

    United States Government recommends to the Court the following:

    Defendant

    KIMBERLY HUERTA

                                                             DETENTION
                                                             RELEASED ON CONDITIONS
                                                             APPEARANCE BOND IN THE
                                                             AMOUNT OF: $

       SIGNED at Houston, Texas, on                May 11, 2022
                                                                                          .




                                                 UNITED STATES MAGISTRATE JUDGE
